     Case 2:19-cv-01134-JAK-JC Document 32 Filed 02/27/19 Page 1 of 14 Page ID #:1370



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8                                    UNITED STATES DISTRICT COURT
9                                    CENTRAL DISTRICT OF CALIFORNIA
10
                                                       )
11    ISM INDUSTRIES, INC.,                            )   Case No.: LA CV19-01134 JAK (JCx)
                                                       )
12                   Plaintiff(s),                     )   ORDER SETTING RULE 16(b)/26(f)
                                                       )   SCHEDULING CONFERENCE
13    v.                                               )
                                                       )   UNDER SUBMISSION: NO HEARING
14    STEARNS, CONTRAD AND SCHMIDT,                    )
      CONSULTING ENGINEERS, INC.,                      )   Joint Report Due: April 19, 2019
15
                                                       )
16                   Defendant(s).                     )
                                                       )
17

18    This case has been assigned to Judge John A. Kronstadt. This Order applies to all parties in
19
      this action, whether or not they are represented by counsel. “Counsel,” as used in this Order,
20
      also refers to parties who are representing themselves. If plaintiff has not already served the
21
      complaint (or any amendment thereto) on each defendant, plaintiff shall promptly do so and
22
      shall file proofs of service within three (3) days thereafter. Defendant(s) also shall timely serve
23
      and file their responsive pleadings and file proofs of service within three (3) days thereafter.
24

25    This matter is set for a scheduling conference on the above date. The conference will be held

26    pursuant to Fed. R. Civ. P. 16 and Fed. R. Civ. P. 26(a). The parties are reminded of their

27    obligations under Fed. R. Civ. P. 26(a) to disclose information (without awaiting a discovery
28    request) and under Rule 26(f) to confer on a discovery plan not later than twenty-one (21) days

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     Case 2:19-cv-01134-JAK-JC Document 32 Filed 02/27/19 Page 2 of 14 Page ID #:1371



1
      prior to the scheduling conference and to file a report with the Court entitled “Joint Rule
2
      16(b)/26(f) Report” not later than ten (10) calendar days before the date set for the scheduling
3
      conference. Please comply with these requirements; it will simplify the Scheduling Conference.
4

5            The Court encourages counsel to begin to conduct discovery actively before the

6     Scheduling Conference. The Court encourages prompt, early discovery because at the

7     Scheduling Conference the Court will set firm deadlines to complete discovery. The parties shall
8     comply fully with the letter and spirit of Fed. R. Civ. P. 26(a) and thereby obtain and produce
9
      most of what would be produced in the early stage of discovery. Discovery is not stayed prior to
10
      the Scheduling Conference or after dates have been set unless otherwise ordered by the Court.
11
      1.     Joint Rule 16(b)/26(f) Report
12
             The Joint Rule 16(b)/26(f) Report, which shall be filed not later than ten (10) calendar
13

14
      days before the scheduling conference, shall be drafted by plaintiff’s counsel (unless the parties

15    agree otherwise or unless plaintiff is self-represented, in which case defendant’s counsel), but

16    shall be submitted and signed jointly. “Jointly” contemplates a single report, regardless of how

17    many separately-represented parties there are. The Joint Rule 16(b)/26(f) Report shall report on
18
      all matters enumerated below, which include those required to be discussed by Rule 26(f) and
19
      Local Rule 26. The Joint Rule 16(b)/26(f) Report should set forth the following information under
20
      section headings corresponding to those in this Order:
21
      a.     Statement of the Case: A short synopsis (not to exceed two (2) pages) of the main
22
      claims, counterclaims, and affirmative defenses.
23

24    b.     Subject Matter Jurisdiction: A statement of the specific basis of federal jurisdiction,

25    including supplemental jurisdiction.

26    c.     Legal Issues: A brief description of the key legal issues, including any unusual
27    substantive, procedural or evidentiary issues.
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     Case 2:19-cv-01134-JAK-JC Document 32 Filed 02/27/19 Page 3 of 14 Page ID #:1372



1
      d.      Parties, and Non-Party Witnesses: A list of parties and percipient witnesses on the main
2
      issues in the case. For conflict purposes, corporate parties must identify all subsidiaries, parents
3
      and affiliates.
4

5     e.      Damages: The realistic range of provable damages.

6     f.      Insurance: Whether there is insurance coverage.

7     g.      Motions: A statement of the likelihood of motions seeking to add other parties or claims,
8     file amended pleadings or transfer venue.
9
      h.      Manual for Complex Litigation: Whether all or part of the procedures of the Manual for
10
      Complex Litigation should be utilized.
11
      i.      Status of Discovery: A discussion of the present state of discovery, including a summary
12
      of completed discovery.
13

14
      j.      Discovery Plan: A detailed discovery plan, as contemplated by Rule 26(f), including the

15    identity of all anticipated deponents and dates by which their depositions are to be completed (if

16    possible), anticipated written discovery requests, including requests for admission, document

17    requests, and interrogatories, and a schedule for completion of all discovery. State what, if any,
18
      changes in the disclosures under Rule 26(a) should be made, the subjects on which discovery
19
      may be needed and whether discovery should be conducted in phases or limited in some
20
      manner, whether applicable limitations should be changed or other limitations imposed, and
21
      whether the Court should enter other orders. Please note that a statement to the effect that
22
      discovery will be conducted as to all claims and defenses, will not satisfy this requirement.
23

24    k.      Discovery Cut-Off: A proposed discovery cut-off date. This means the final day for

25    completion of non-expert discovery, including resolution of all discovery motions. The last day to

26    hear discovery motions shall be the same as the last day to hear all motions. See Exh. C-1.
27    l.      Expert Discovery: Proposed dates for expert witness disclosures (initial and rebuttal) and
28
      expert discovery cut-off under Rule 26(a)(2).

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     Case 2:19-cv-01134-JAK-JC Document 32 Filed 02/27/19 Page 4 of 14 Page ID #:1373



1
      m.      Dispositive Motions: A description of the issues or claims that any party believes may be
2
      determined by motion for summary judgment or motion in limine.
3
      n.      Settlement: A statement of what settlement discussions or written communications have
4

5     occurred (excluding any disclosure or discussion of the substantive matters or terms discussed)

6     and a statement pursuant to Local Rule 16-15.4 about selecting a settlement mechanism under

7     that Rule. In light of the Court’s participation in the ADR Program, no case will proceed to trial
8     unless all parties with full authority to settle the case – including, as to each corporate party, an
9
      officer who has such authority – have appeared personally at a settlement conference. The
10
      Court will discuss the proposed ADR procedure with the parties at the time of the Scheduling
11
      Conference and will issue the ADR-12 order once the settlement method is selected. For
12
      information about the Court’s ADR Program, review General Order 11-10, which is located on
13

14
      the “ADR” page of the Court’s website.

15    o.      Trial Estimate: A realistic estimate of the time required for trial and whether trial will be

16    by jury or by the Court. Each side should specify (by number, not by name) how many

17    witnesses it contemplates calling. If the time estimate for trial given in the Joint Rule 26(f)
18
      Report exceeds five (5) court days, counsel shall be prepared to discuss in detail the estimate.
19
      p.      Trial Counsel: The name(s) of the attorney(s) who will try the case, including those who
20
      will be lead trial counsel.
21
      q.      Independent Expert or Master: Whether this is a case in which the Court should consider
22
      appointing a Master pursuant to Rule 53 or an independent scientific expert.
23

24    r.      Timetable: Please complete the Schedule of Pretrial and Trial Dates form attached as

25    Exhibit A to this Order (Exhibit C-1) and attach it to the Joint Rule 16(b)/26(f) Report. The

26    entries in the “Weeks Before Trial” column reflect what the Court believes are appropriate for
27    most cases and will allow the Court to rule on potentially dispositive motions sufficiently far in
28
      advance of the pretrial conference. The form is designed to enable counsel to ask the Court to

                                                             4
     Case 2:19-cv-01134-JAK-JC Document 32 Filed 02/27/19 Page 5 of 14 Page ID #:1374



1
      set different last dates by which the key requirements must be completed. Each side should fill
2
      in the month, day and year it requests for each event. E.g., for the expert discovery cut-off it
3
      might be “10/7/16” for plaintiff and “10/28/16” for defendant, if they cannot agree. Each entry
4

5     proposing a Court date shall be on a Monday, except the trial date, which will be a Tuesday.

6     Counsel should ensure that requested dates do not fall on a court holiday. At the conference,

7     the Court will review this form with counsel in determining the dates that will be set in the case.
8     The cut-off date for motions is the last date on which motions may be heard, not filed. The Court
9
      is not likely to continue this date, and will not do so unless the trial date is also continued.
10
      Counsel shall refer to the Court’s “Order on Court/Jury Trial.” See Exh. D. This Order will set
11
      forth all pre-trial and trial obligations of counsel, and, where applicable, the deadlines for each.
12
      s.     Other Issues: A statement of any other issues affecting the status or management of the
13

14
      case (e.g., unusually complicated technical or technological issues, disputes over protective

15    orders, extraordinarily voluminous document production, non-English speaking witnesses, ADA-

16    related issues, discovery in foreign jurisdictions) and any proposals concerning severance,

17    bifurcation or other ordering of proof.
18
      t.     Patent Cases: Propose dates and methodology for claim construction and Markman
19
      hearings. See also Exh. B.
20
      u.     Whether the Parties Wish to Have a Magistrate Judge Preside: Under 28 U.S.C. § 636,
21
      the parties may consent to have a Magistrate Judge preside over an entire action, not just
22
      discovery. See General Order 12-01 and General Order 12-02. The parties may select a
23

24    Magistrate Judge from the Voluntary Consent List and comply with the requirements outlined in

25    General Order 12-01 and General Order 12-02 and those outlined on the Court’s website:

26    http://www.cacd.uscourts.gov/judges-requirements/court-programs/voluntary-consent-list-civil-
27    cases-magistrate-judges-program.
28

                                                             5
     Case 2:19-cv-01134-JAK-JC Document 32 Filed 02/27/19 Page 6 of 14 Page ID #:1375



1
      2.     Scheduling Conference
2
             The Scheduling Conference will be held in Courtroom 10B of the First Street Federal
3
      Courthouse at 350 W. First Street. Counsel shall comply with the following with respect to the
4

5     Scheduling Conference:

6     a.     Participation: The lead trial attorney for each party shall attend the Scheduling

7     Conference unless such counsel is engaged in trial, or has good cause following a request to
8     the Clerk by either telephone or email in advance of the Scheduling Conference.
9
      b.     Continuance: A continuance of the Scheduling Conference will be granted only for good
10
      cause, following a written request with a proposed order to be e-filed at least one (1) week in
11
      advance of the Scheduling Conference.
12
      c.     Use of Conference Telephone: In general, the Court prefers in-person appearances.
13

14
      However, if one or more of the lead counsel has his or her office outside of Los Angeles County,

15    or under other appropriate circumstances, the Court may, upon the request of one or more

16    counsel, conduct the status conference by conference telephone call. Any request for a

17    telephonic appearance must be made at least two (2) court days before the scheduled hearing
18
      by contacting the Courtroom Deputy Clerk for further instructions. The Court does not entertain
19
      a telephonic appearance if the Scheduling Conference is set at the same date and time as a
20
      motion unless it is an exceptional and unanticipated circumstance. Any request for a telephonic
21
      appearance at a motion hearing must be made in writing and e-filed at least seven (7) calendar
22
      days before the scheduled hearing and shall include a declaration from counsel setting forth the
23

24    basis for the request with a proposed order. The Court does not use Court Call. If the request is

25    granted, the order will include the information for the call. Please note that cell phones or the

26    use of speaker phones are not permitted for any telephonic appearance.
27

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     Case 2:19-cv-01134-JAK-JC Document 32 Filed 02/27/19 Page 7 of 14 Page ID #:1376



1
      3.     Protective Orders
2
             If you seek a protective order, please use your best efforts to propose it to opposing
3
      counsel before the Scheduling Conference. Protective orders are considered discovery and
4

5     shall be prepared and submitted to the assigned Magistrate Judge.

6     4.     Notice to be Provided by Counsel

7            Plaintiff’s counsel or, if plaintiff is self-represented, defendant’s counsel, shall serve this
8     Order on any parties who first appear after the date of this Order and to parties who are known
9
      to exist but have not yet entered appearances.
10
      5.     Disclosures to Clients
11
             Counsel are ordered to deliver to their respective clients a copy of this Order and of the
12
      Court’s Scheduling and Case Management Order, which will set forth the schedule that the
13

14
      Court establishes at the Scheduling Conference.

15
      IT IS SO ORDERED.
16
      Dated: February 27, 2019                               _________________________________
17                                                           JOHN A. KRONSTADT
                                                             UNITED STATES DISTRICT JUDGE
18

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     Case 2:19-cv-01134-JAK-JC Document 32 Filed 02/27/19 Page 8 of 14 Page ID #:1377



1
                                          EXHIBIT C-1
2

3             EXHIBIT A TO ORDER SETTING RULE 16(b)/26(f) SCHEDULING CONFERENCE:
4                      SCHEDULE OF PRETRIAL AND TRIAL DATES FOR:

5                                       1. CIVIL CASES
                                       2. PATENT CASES
6
                                        3. ERISA CASES
7

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     Case 2:19-cv-01134-JAK-JC Document 32 Filed 02/27/19 Page 9 of 14 Page ID #:1378



1
      EXHIBIT A - SCHEDULE OF PRETRIAL AND TRIAL DATES FOR CIVIL CASES
2      Case No.:
3
       Case Name:
4

5      Hearings:                                               Plaintiff(s)   Defendant(s)   Court Order
                                                               Request        Request
6
       ____ Jury Trial
7      ____ Court Trial
       (Tuesday at 9:00 a.m.)
8
       Duration Estimate:
9
       ____ Days
10     ____ Weeks

11     Final Pretrial Conference (“FPTC”) & Status
       Conference re Disputed Exhibits:
12
       (Monday at 3:00 p.m.: Two weeks before the trial)
13
       Deadlines for Bench Trials Only:           Weeks        Plaintiff(s)   Defendant(s)   Court Order
14                                                Before       Request        Request
                                                  FPTC
15
       Anticipated Ruling to be Issued by Court   Same
16                                                date

17     Last Date to File Objections to Direct     2
       Testimony Declarations
18

19     Last Date to File Direct Testimony         3
       Declarations
20
       Proposed Motion Practice for Motions       Weeks        Plaintiff(s)   Defendant(s)   Court Order
21     for Summary Judgment & Motions for         Before       Request        Request
       Class Certification:                       FPTC
22
       Hearing on Motion
23
       Reply to Motion
24
       Response to Motion
25

26     Last day to File Motion

27

28

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 Case 2:19-cv-01134-JAK-JC Document 32 Filed 02/27/19 Page 10 of 14 Page ID #:1379



1
     Deadlines:                                   Weeks     Plaintiff(s)   Defendant(s)   Court Order
2                                                 Before    Request        Request
                                                  FPTC
3
     Anticipated Ruling on All Motions            4
4
     Last Date to Hear Motions                    8
5    (including discovery motions)

6
     Last Date to File Motions                    20
7    (including discovery motions)

8    Expert Discovery Cut-Off                     20

9
     Expert Disclosure (Rebuttal)                 22
10
     Expert Disclosure (Initial)                  24
11

12   Non-Expert Discovery Cut-Off                 26

13   Last Date to Add Parties/Amend
     Pleadings
14

15   Settlement Procedure Selection:                        Plaintiff(s)   Defendant(s)   Court Order
     (ADR-12 Form will be completed by Court after          Request        Request
16   scheduling conference)

17
     1. Magistrate Judge
18   2. Attorney Settlement Officer Panel
     3. Outside ADR/Non-Judicial (Private)
19
     Last day to conduct settlement conference/mediation
20
     Notice of Settlement / Joint Report re Settlement
21
     (10 days before PMSC)
22
     Post Mediation Status Conference:
23   (Monday at 1:30 pm: 14 days after the last day to
     conduct settlement)
24

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 Case 2:19-cv-01134-JAK-JC Document 32 Filed 02/27/19 Page 11 of 14 Page ID #:1380



1
     EXHIBIT A - SCHEDULE OF PRETRIAL AND TRIAL DATES FOR PATENT CASES
2     Case No.:
3
      Case Name:
4

5     Hearings:                                               Plaintiff(s)   Defendant(s)   Court Order
                                                              Request        Request
6
      ____ Jury Trial
7     ____ Court Trial
      (Tuesday at 9:00 a.m.)
8
      Duration Estimate:
9
      ____ Days
10    ____ Weeks

11    Final Pretrial Conference (“FPTC”) & Status
      Conference re Disputed Exhibits:
12
      (Monday at 3:00 p.m.: Two weeks before the trial)
13
      Deadlines for Bench Trials Only:           Weeks        Plaintiff(s)   Defendant(s)   Court Order
14                                               Before       Request        Request
                                                 FPTC
15
      Anticipated Ruling to be Issued by Court   Same
16                                               date

17    Last Date to File Objections to Direct     2
      Testimony Declarations
18

19    Last Date to File Direct Testimony         3
      Declarations
20

21

22   Deadlines:                     Weeks After Listed        Plaintiff(s)   Defendant(s)   Court Order
                                    Event                     Request        Request
23
     Infringement Contentions       2 (After Order Setting
24   (S.P.R. 2.1, 2.2)
                                    Scheduling Conference)
25
     Early Meeting of the           4 (After Order Setting
     Parties, Initial Disclosures   Scheduling Conference)
26
     (S.P.R. 2.3)
27
     Joint Rule 26(f) Report        6 (After Order Setting
28   (S.P.R. 2.3)                   Scheduling Conference)


                                                             11
 Case 2:19-cv-01134-JAK-JC Document 32 Filed 02/27/19 Page 12 of 14 Page ID #:1381



1
     Scheduling Conference           [set by Court]
2    (S.P.R. 2.4)

3
     Invalidity Contentions          2 (After Scheduling
4    (S.P.R. 2.5, 2.6)               Conference)

5    Exchange of Claim Terms         4 (After Scheduling
     (S.P.R. 3.1)                    Conference)
6
     Exchange Proposed               6 (After Scheduling
7    Constructions and Evidence      Conference)
     (S.P.R. 3.2)
8
     Complete Claim                  10 (After Scheduling
9    Construction Discovery          Conference)
     (S.P.R. 3.3)
10
     Joint Markman Prehearing        11 (After Scheduling
11
     Statement                       Conference)
     (S.P.R. 3.4)
12

13   Simultaneous Opening            12 (After Scheduling
     Markman Briefs                  Conference)
14   (S.P.R. 3.5)

15   Simultaneously Responding       14 (After Scheduling
     Markman Briefs, Tutorials,      Conference)
16   and Presentation Materials
     (S.P.R. 3.5)
17
     Markman Hearing                 17 (After Scheduling
18   (S.P.R. 3.6)                    Conference)

19   Markman Decision                [set by Court]

20   Patentee Files Final            4 (After Markman
     Infringement Contentions,       Decision)
21   Expert Reports on issues
     Where Patentee has
22   Burden of Proof, All Parties
     File Advice of Counsel
23   Disclosures (S.P.R. 4.1,
     4.4)
24
     Accused Infringer Files         8 (After Markman
25   Final Invalidity Contentions,   Decision)
     Rebuttal Expert Reports,
26   and Opening Expert
     Reports Where Accused
27   Infringer has Burden of
     Proof (S.P.R. 4.2)
28

                                                            12
 Case 2:19-cv-01134-JAK-JC Document 32 Filed 02/27/19 Page 13 of 14 Page ID #:1382



1
     Patentee’s Rebuttal Expert      12 (After Markman
2    Reports on Issues Where         Decision)
     Accused Infringer has
3    Burden of Proof
     (S.P.R. 4.3)
4
     Discovery Cut-Off               16 (After Markman
5    (S.P.R. 4.3)                    Decision)

6    Last Date to File Dispositive   20 (After Markman
     Motions                         Decision)
7    (S.P.R. 4.5)
8    Last Date to Hear Motions       27 (After Markman
     (not file)                      Decision)
9
     Last Date to Add
10
     Parties/Amend Pleadings
11
     Settlement Procedure Selection:                        Plaintiff(s)   Defendant(s)   Court Order
12   (ADR-12 Form will be completed by Court after          Request        Request
     scheduling conference)
13
     1. Magistrate Judge
14   2. Attorney Settlement Officer Panel
     3. Outside ADR/Non-Judicial (Private)
15
     Last day to conduct settlement conference/mediation
16

17   Notice of Settlement / Joint Report re Settlement
     (10 days before PMSC)
18
     Post Mediation Status Conference:
19
     (Monday at 1:30 pm: 14 days after the last day to
20   conduct settlement)

21

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 Case 2:19-cv-01134-JAK-JC Document 32 Filed 02/27/19 Page 14 of 14 Page ID #:1383



1
     EXHIBIT A - SCHEDULE OF PRETRIAL AND TRIAL DATES FOR ERISA CASES
2    Case No.:
3
     Case Name:
4

5

6    Hearings:                                                   Plaintiff(s)   Defendant(s)   Court Order
                                                                 Request        Request
7    Court Trial/Hearing on Administrative Record:
     (Tuesday at 9:00 a.m.)
8
     Duration Estimate: ____ Days / ____ Weeks
9

10   Final Pretrial Conference: (Monday at 3:00 p.m.)
     (Two weeks before the trial)
11
     Simultaneous Responsive Briefs
12

13
     Simultaneous Opening Briefs
14
     Last Date to Add Parties/Amend Pleadings
15

16
     Settlement Procedure Selection:                             Plaintiff(s)   Defendant(s)   Court Order
     (ADR-12 Form will be completed by Court after scheduling    Request        Request
17   conference)

18   1. Magistrate Judge
     2. Attorney Settlement Officer Panel
19   3. Outside ADR/Non-Judicial (Private)

20   Last day to conduct settlement conference/mediation

21
     Notice of Settlement / Joint Report re Settlement
22   (10 days before PMSC)

23
     Post Mediation Status Conference: (Monday at 1:30 pm)
24   (14 days after the last day to conduct settlement)

25

26

27

28

                                                                14
